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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

                                    )
DONALD J. TRUMP FOR                 )
PRESIDENT, INC., et al.,            )
                                    )
                    Plaintiffs,     )
                                            Civil Action No. 4:20-cv-02078-
                                    )
                                            MWB
      v.                            )
                                    )
                                            Judge Matthew W. Brann
KATHY BOOCKVAR, in her capacity )
as Secretary of the Commonwealth of )
                                            Electronically Filed
Pennsylvania, et al.,               )
                                    )
                    Defendants.     )
                                    )

                SECRETARY OF THE COMMONWEALTH
               KATHY BOOCKVAR’S MOTION TO DISMISS

      Defendant Secretary of the Commonwealth Kathy Boockvar, by and through

her undersigned counsel, hereby moves for abstention and dismissal of all claims

in the Complaint in this action pursuant to Rule 12(b) of the Federal Rules of Civil

Procedure. In accordance with Local Rule 7.5, the grounds supporting this motion

are set forth in the supporting memorandum of law filed herewith.
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Dated: November 12, 2020            Respectfully submitted,


KIRKLAND & ELLIS LLP                PENNSYLVANIA OFFICE OF
                                    ATTORNEY GENERAL

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                                    Counsel for Kathy Boockvar,
                                    Secretary of the Commonwealth
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                  CERTIFICATE OF NONCONCURRENCE

      I hereby certify that I sought the concurrence of counsel for Plaintiffs,

Ronald Hicks, Esquire, in this Motion. Mr. Hicks does not concur in this Motion.



                                    /s/ Daniel T. Brier
Date: November 12, 2020             Daniel T. Brier
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                         CERTIFICATE OF SERVICE

      I hereby certify that on November 12, 2020, a copy of the foregoing was filed

electronically. Notice of this filing will be sent to all parties who have appeared in

this action via the Court’s electronic filing system. Parties may access this filing

through the Court’s system.



                                          /s/ Daniel T. Brier
                                          Daniel T. Brier
